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                                                                                                      IN THE UNITED STATES DISTRICT COURT
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                                                                         9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
                                                                         11   KEVIN L. PHELPS,                                   No. C 98-2002 MMC
United States District Court




                                                                                            Petitioner,                          ORDER STRIKING MOTION
                               For the Northern District of California




                                                                         12
                                                                                v.
                                                                         13
                                                                              EDWARD ALAMEDA,
                                                                         14
                                                                                            Respondent
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                                                                         17          The Court is in receipt of a “Motion Pursuant to FRCP 60(a)(b) to Reconsider and
                                                                         18   Vacate Previous Order Denying First Motion Made Pursuant to FRCP 60((b)(5),” filed on
                                                                         19   April 27, 2006, by petitioner, acting without counsel.
                                                                         20          Petitioner has counsel of record in the instant matter and, consequently, may not
                                                                         21   himself file the above-described motion. Accordingly, the motion filed April 27, 2006 is
                                                                         22   hereby STRICKEN.1
                                                                         23          IT IS SO ORDERED.
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                                                                         25   Dated: June 7, 2006
                                                                                                                                   MAXINE M. CHESNEY
                                                                         26                                                        United States District Judge
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                                                                                     Moreover, petitioner fails to set forth any cognizable ground to warrant
                                                                              reconsideration of the Court’s prior order.
